
PER CURIAM:
This claim was submitted for decision based on the allegations of the Notice of Claim and the respondent’s Answer.
Claimant seeks payment of the sum of $585.95 in charges for outpatient surgery performed on an inmate of the West Virginia State Penitentiary. In its Answer, the respondent admits the validity of the claim, but also states that there were no funds remaining in the repondent’s appropriation for the fiscal year in question from which the obligation could have been paid.
While we feel that this is a claim which in equity and good conscience should be paid, we are of the further opinion that an award cannot be made, based on our decision in Airkem Sales and Service, et al. v. Department of Mental Health, 8 Ct.Cl. 180 (1971).
Claim disallowed.
